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                              EXHIBIT 19
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Emily Warren

From:                            Eric Grundlehner
Sent:                            Wednesday, November 25, 2020 11:24 AM
To:                              Marcie Pearce; Stephanie Miller
Subject:                         Re: DIT Open Balance



Hi Marcie,

Can you help me understand why we are struggling to get paid?

Detroit Axle requests us to purchase hardware and perform services and we don't get paid for either. You guys
have this equipment in your possession and are using it (ex. Mark's laptop).

Eric


From: Marcie Pearce <mpearce@detroitaxle.com>
Sent: Wednesday, November 25, 2020 11:20 AM
To: Stephanie Miller <stephanie@detroitit.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: RE: DIT Open Balance

Please send over whatever monthly support invoices you have. Once I have the total I will work with the team here to
come up with a plan.

Marcie

From: Stephanie Miller <stephanie@detroitit.com>
Sent: Tuesday, November 24, 2020 4:19 PM
To: Marcie Pearce <mpearce@detroitaxle.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: RE: DIT Open Balance

Hi Marcie,

I wanted to follow up on the current outstanding balance. The balance is growing and we really need to receive payment
for the invoices below ASAP.

Invoice 12724 – Global Firewalls for all locations - Currently 99 past due
Invoice 12639 – Laptop for Mark F. - Currently 50 days past due
Invoice 12641 – New computer for Mt. Elliot - Currently 50 days past due
Invoice 12642 – Urgent computer for Mt. Elliot - Currently 50 days past due
Invoice 12660 – Zebra TC20 handhelds - Currently 50 days past due
Invoice 12729 – Mike’s office cameras - Currently 40 days past due
Invoice 12730 – Front counter computers – Currently 40 days past due
Invoice 12728 – Conference room AV setup – Currently 40 days past due
Invoice 12716 – Remanufacturing workstations – Currently 35 days past due
Invoice 12731 – Mexico server setup – Currently 32 days past due
                                                           1
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Invoice 12836 – Mt. Elliot Samsung Tablets – Currently 7 days past due
Invoice 12838 – Mt. Elliot Motorola Scanners – Currently 6 days past due
Invoice 12847 – Front Counter Rework – Currently 3 days past due

Also, I was reconciling the account and it doesn’t look like you were receiving the monthly support invoices. I will be
sending those over in a separate email.

Thank you,

               STEPHANIE MILLER
               Operations Coordinator
               T 248.530.1001 ext. 115
               detroitit.com



       Submit a Ticket             Email Us            Call Us 248.530.1001




From: Marcie Pearce <mpearce@detroitaxle.com>
Sent: Friday, November 6, 2020 4:14 PM
To: Stephanie Miller <stephanie@detroitit.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: RE: DIT Open Balance

I sent an email to the billing email. I got a payment approved but it won’t be until early next week (I figured I’d wire
instead of sending a check). I’ll reach out to you on Monday for details.

From: Stephanie Miller <stephanie@detroitit.com>
Sent: Friday, November 6, 2020 4:11 PM
To: Marcie Pearce <mpearce@detroitaxle.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: RE: DIT Open Balance
Importance: High

Hi Marcie,

I just tried to reach you but received a message that your VM hasn’t been setup so I was unable to leave a message. Can
you please let me know if we can expect to receive a payment towards the outstanding balance today?

Thank you!

               STEPHANIE MILLER
               Operations Coordinator
               T 248.530.1001 ext. 115
               detroitit.com



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From: Stephanie Miller
Sent: Thursday, November 5, 2020 2:55 PM
To: 'Marcie Pearce' <mpearce@detroitaxle.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: RE: DIT Open Balance

Hi Marcie,

I just tried to reach you but got your VM and was unable to leave a message because the VM hasn’t been set up. I
wanted to follow up and see when we could expect to receive a payment this week? Also, can you let me know what
invoices will be paid.

Thank you!

              STEPHANIE MILLER
              Operations Coordinator
              T 248.530.1001 ext. 115
              detroitit.com



       Submit a Ticket            Email Us           Call Us 248.530.1001




From: Stephanie Miller
Sent: Wednesday, November 4, 2020 2:05 PM
To: Marcie Pearce <mpearce@detroitaxle.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: RE: DIT Open Balance

Hi Marcie,

Following up on this. Can you let us know when a payment will be made this week and the invoices it will cover?

Thank you!

              STEPHANIE MILLER
              Operations Coordinator
              T 248.530.1001 ext. 115
              detroitit.com



       Submit a Ticket            Email Us           Call Us 248.530.1001




From: Marcie Pearce <mpearce@detroitaxle.com>
Sent: Friday, October 30, 2020 4:28 PM
To: Stephanie Miller <stephanie@detroitit.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: RE: DIT Open Balance


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I’ll make another payment next week and will focus on these invoices as a priority.

Thanks!

Marcie

From: Stephanie Miller <stephanie@detroitit.com>
Sent: Friday, October 30, 2020 12:46 PM
To: Marcie Pearce <mpearce@detroitaxle.com>
Cc: Eric Grundlehner <eric@detroitit.com>
Subject: DIT Open Balance

Happy Friday!

I wanted to follow up and see if you have an update on when we can expect to receive another payment towards the
open balance? The most important invoices we need to get paid are listed below. These invoices are for equipment that
we have already purchased and installed.

Invoice 12808
Invoice 12809
Invoice 12730
Invoice 12729
Invoice 12728
Invoice 12727
Invoice 12726

If you have any questions, please let me know.


Thank you!

                STEPHANIE MILLER
                Operations Coordinator
                T 248.530.1001 ext. 115
                detroitit.com



         Submit a Ticket            Email Us          Call Us 248.530.1001




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